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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:13-CR-3130

vs.
                                                 TENTATIVE FINDINGS
YARA SUJEY MARTINEZ GARCIA,

                 Defendant.

       The Court has received the presentence investigation report (PSR) in
this case. The defendant has filed an objection to the PSR. Filing 232.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   The defendant has objected to the PSR's recommendation regarding an
     adjustment for her role in the offense under U.S.S.G. § 3B1.2. Filing
     232. That guideline provides for a two-level decrease in the offense level
     if the defendant was a "minor participant" in their offense, and a four-
     level decrease for "minimal" participants. U.S.S.G. § 3B1.2. The
     probation officer recommended that the defendant receive a two-level
     downward adjustment. PSR ¶ 43. But the defendant argues she is
     entitled to the full four-level adjustment (or at least three levels), and
     requests an evidentiary hearing on the matter. The Court will therefore
     hold a hearing on the matter and allow both sides to present evidence
     and argument, and the Court will resolve the matter at sentencing.

     However, on the current record, the Court's tentative finding is that the
     probation officer was correct, and that the defendant is only entitled to
     a two-level adjustment as a minor participant. The full four-level
     adjustment only applies to defendants who are "plainly among the least
     culpable." U.S.S.G. § 3B1.2 cmt. n.4. And the Eighth Circuit has never
     found that someone's role as a courier was, in and of itself, sufficient to
     warrant a mitigating role reduction, nor the fact that a defendant was
     only involved in a single transaction. United States v. Salazar-Aleman,
     741 F.3d 878, 881 (8th Cir. 2013). The defendant, according to the PSR,
     made at least six trips, over approximately 4 months, to transport 24
     pounds of very pure methamphetamine from Arizona to Nebraska,
     returning to Arizona with the proceeds. PSR at ¶¶ 32–34. This does not
     strike the Court as conduct making the defendant "plainly among the
     least culpable." See, e.g., United States v. Castillo, 713 F.3d 407, 410–12
     (8th Cir. 2013). That said, the Court is familiar with the more
     significant roles played by some other members of this conspiracy, and
     a two-level adjustment is likely appropriate. At this point, the Court
     finds the defendant's objection (filing 232) to be without merit.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.


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4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 28th day of April, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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